                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )          MATTICE/STEGER
                                               )
        v.                                     )          CASE NO. 1:15-CR-12
                                               )
 JESSE ALAN TRIMUE                             )


                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. ' 636(b), I conducted a plea hearing in this case on September 29,

 2015. At the hearing, defendant entered a plea of guilty to the lesser included offense in Count

 Two of the Superseding Indictment, conspiracy to distribute and possess with intent to distribute

 five grams or more of methamphetamine actual and fifty grams or more of a mixture and substance

 containing methamphetamine, in violation of 21 USC '' 846 and 841(b)(1)(B), in exchange for

 the undertakings made by the government in the written plea agreement. On the basis of the

 record made at the hearing, I find that the defendant is fully capable and competent to enter an

 informed plea; that the plea is made knowingly and with full understanding of each of the rights

 waived by defendant; that it is made voluntarily and free from any force, threats, or promises, apart

 from the promises in the plea agreement; that the defendant understands the nature of the charge

 and penalties provided by law; and that the plea has a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to the lesser included offense in

 Count Two of the Superseding Indictment be accepted, that the Court adjudicate defendant guilty

 of the charges set forth in the lesser included offense in Count Two of the Superseding Indictment,

 and that the written plea agreement be accepted at the time of sentencing. I further recommend

 that defendant remain in custody until sentencing in this matter. Acceptance of the plea,


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 adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

 reserved for the district judge.

        The defendant=s sentencing date is scheduled for Monday, March 14, 2016, at 2:00 pm.



                                                s/Christopher H. Steger
                                                UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing.
 Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
 the plea of guilty in this matter. See 28 U.S.C. '636(b).




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